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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  (FT LAUDERDALE DIVISION)
                         CASE NO. 0:19-cv-61430- MORENO/Seltzer

   ELIZABETH E. BELIN, et al.,
                  Plaintiffs,
   v.
   HEALTH INSURANCE INNOVATIONS, INC.,
   et al.,
                  Defendants.
                                                    /

                                 AGREED PROTECTIVE ORDER

         This Agreed Protective Order (the “Order”) shall govern discovery in this lawsuit.

  All parties to this lawsuit shall adhere to the Order’s terms and conditions.

                                        DEFINITIONS

         1.      The term “Materials” shall mean all items or information, regardless of the

  medium or manner in which they are generated, stored, or maintained (including, among

  other things, testimony, transcripts, and tangible things), that are produced or generated

  in response to discovery in this matter (including initial disclosures). The term “Materials”

  includes answers to interrogatories and other responses to discovery requests.

         2.      The term “CONFIDENTIAL” information shall mean Materials that qualify for

  protection under Federal Rule of Civil Procedure 26(c). This includes, but is not limited

  to, trade secrets or other confidential research, development, commercial, or proprietary

  information.

         3.      The term “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

  information shall mean a party’s Materials, including trade secret Materials, that are the
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  subject of the party’s reasonable efforts to maintain their secrecy, disclosure of which to

  another party or non-party would create a significant risk of material harm that could not

  be confidently avoided by less restrictive means.

         4.     The term “Confidential Information,” as used herein, shall mean all

  “CONFIDENTIAL” and “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

  Materials.

         5.     The term “Counsel” shall mean (a) outside counsel of record and (b) other

  attorneys, paralegals, secretaries, and other support staff employed in the law firms

  representing or advising the parties, but “Counsel” shall not include in-house counsel of

  a party.

                                         GENERAL RULES

         6.     Designation as “CONFIDENTIAL”: Any party (or third party) may designate

  Materials it produces or discloses (including answers to interrogatories, responses to

  requests for admission, or other discovery responses) as “CONFIDENTIAL” if and only if,

  in the reasonable good faith belief of such party’s counsel (or, in the case of a third party

  not represented by counsel, the third party), the Materials satisfy the definition of

  “CONFIDENTIAL” set forth in Paragraph 2.

         7.     Designation as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”:

  Any party may designate Materials it produces or discloses (including answers to

  interrogatories, responses to requests for admission, or other discovery responses) as

  “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” if and only if, in the reasonable

  good faith belief of such party’s counsel (or, in the case of a third party not represented




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  by counsel, the third party), the Materials satisfy the definition of “HIGHLY

  CONFIDENTIAL – ATTORNEYS’ EYES ONLY” set forth in Paragraph 3.

         8.     Whenever a deposition taken on behalf of any party involves a disclosure

  of Confidential Information of any party:

                 (a)         said deposition or portions thereof shall be designated as containing

         Confidential Information subject to the provisions of this Order; such designation

         shall be made on the record whenever possible, but a party may designate

         portions of depositions as containing Confidential Information after transcription

         of the proceedings; a party shall have fourteen (14) calendar days after receipt of

         the deposition transcript to inform the other party or parties to the action of the

         portions       of     the   transcript   designated   “CONFIDENTIAL”       or   “HIGHLY

         CONFIDENTIAL – ATTORNEYS’ EYES ONLY”; and

                 (b)         the disclosing party shall have the right to exclude from attendance

         at said deposition, during such time as the Confidential Information is to be

         disclosed, any person other than the deponent, Counsel, the court reporter, and

         the person(s) covered by Paragraphs 9 or 10 below.

         9.     All Confidential Information designated as “CONFIDENTIAL” produced or

  disclosed pursuant to this Order may be disclosed or made available only to the Court, to

  Counsel, and to the “qualified persons” designated as follows:

                (a)          a party, or an officer, director, or employee of a party deemed

         necessary by outside counsel to aid in the prosecution, defense, or settlement of

         this action;




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               (b)    independent experts retained by Counsel to assist in the

        prosecution, defense, or settlement of this action, and their staff;

               (c)    paralegals, stenographic and clerical employees, and translators

        associated with persons covered by subparagraph (a), but only as part of a

        disclosure to said persons in accordance with this Order;

               (d)    third-party vendors, such as e-discovery providers, copy services,

        transcription services, or translators, retained by Counsel to aid in the prosecution,

        defense, or settlement of this action;

               (e)    Judges, law clerks, court reporters, and other clerical personnel of

        the Court before which this action is pending;

               (f)    deponents not otherwise covered by the above, but only during the

        course of his or her deposition; and

               (g)    any other person as to whom the parties in writing agree.

        10.    All Confidential Information designated as “HIGHLY CONFIDENTIAL –

  ATTORNEYS’ EYES ONLY” produced or disclosed pursuant to this Order may be

  disclosed or made available only to the Court, to Counsel, and to the “qualified persons”

  designated as follows:

                (a)   an individual who is a party, or a single corporate representative for

         an entity that is a party, deemed necessary by outside counsel to aid in the

         prosecution, defense, or settlement of this action;

                (b)   independent experts retained by Counsel to assist in the

         prosecution, defense, or settlement of this action, and their staff;




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                 (c)   third-party vendors, such as e-discovery providers, copy services,

         transcription services, or translators, retained by Counsel to aid in the

         prosecution, defense, or settlement of this action;

                 (d)   Judges, law clerks, court reporters, and other clerical personnel of

         the Court before which this action is pending;

                 (e)   deponents not otherwise covered by the above, but only during the

         course of his or her deposition; and

                 (f)   paralegals at the law firms representing the Parties.

                 (g)   any other person as to whom the parties in writing agree.

         11.    Prior to receiving any Confidential Information, whether designated

  “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” each

  “qualified person” defined in Paragraphs 9(b), 9(d), 9(g), 10(b), 10(c), 10(e) and 10(f)

  above shall be provided with a copy of this Order and shall execute a Nondisclosure

  Agreement in the form of Exhibit A. A “qualified person” executing a Nondisclosure

  Agreement shall do so in his or her personal capacity except that a “qualified person”

  under Paragraphs 9(d) and/or 10(c) may do so only in his or her capacity as the

  representative of an entity. A party can apply to the Court to obtain copies of the executed

  Nondisclosure Agreements obtained by another party upon a showing of good cause.

         12.    Nothing in this Order prohibits or is intended to prohibit a disclosing party

  from seeking a protective order to prevent the disclosure of specific information

  designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to “qualified

  persons” under Paragraph 10(a).




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         13.    Confidential Information shall not be disclosed by the receiving party to

  anyone other than those persons designated herein and shall be handled in the manner

  set forth below and, in any event, shall not be used for any purpose other than in

  connection with this litigation, unless and until such designation is removed either by

  written agreement of the parties or by an order of the Court.

         14.    With respect to Confidential Information, any person indicated on the face

  of the Materials to be their originator, author, or a recipient of a copy thereof, may be

  shown the same, notwithstanding Paragraphs 9 and 10 above and without signing a

  Nondisclosure Agreement in the form of Exhibit A.

         15.    If any Materials to be filed with the Court contain Confidential Information,

  the proposed filing shall be accompanied by a “Motion to Seal Pursuant to Order” to file

  the Materials or the portion thereof containing Confidential Information (if such portion is

  segregable) under seal, assuming the filing can be sealed under applicable law. The

  Motion shall comply with Local Rule 5.4. Nothing in this Paragraph shall require the Court

  to seal Materials that are not subject to being sealed under applicable law.

         16.    Within thirty (30) calendar days of a party receiving Materials in discovery

  (or such later time as reasonably needed and requested by the receiving party), the party

  may object to a designation of the Materials as Confidential Information. Within fourteen

  (14) calendar days after receiving such an objection (or such later time as reasonably

  needed and requested by the producing party), a producing party shall provide the basis

  for a designation of “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

  EYES ONLY.” If the designation is not explained to the satisfaction of the objecting party,

  or if there is no response within the required time period, the receiving party may move



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  the Court to remove or change the designation. For purposes of any such motion, the

  burden of persuasion regarding the appropriateness of the designation will fall on the

  designating party. The Materials at issue shall be treated as Confidential Information, as

  designated by the designating party, until the Court has ruled on the objection or the

  matter has been otherwise resolved.

         17.    All Confidential Information shall be held in confidence by those inspecting

  or receiving it, and shall be used only for purposes of this action. Counsel and each

  person receiving Confidential Information shall take reasonable precautions to prevent

  the unauthorized or inadvertent disclosure of such information. If Confidential Information

  is disclosed to any person other than a person authorized by this Order, the party

  responsible for the unauthorized disclosure must promptly bring all pertinent facts relating

  to the unauthorized disclosure to the attention of the other parties and, without prejudice

  to any rights and remedies of the other parties, make every effort to prevent further

  disclosure by the party and by the person(s) receiving the unauthorized disclosure.

         18.    No party shall be responsible to another party for disclosure of Confidential

  Information under this Order if the information in question is not labeled or otherwise

  identified as such in accordance with this Order.

         19.    If a party, through inadvertence, produces any Confidential Information

  without labeling or marking or otherwise designating it as such in accordance with this

  Order, the designating party may give written notice to the receiving party that the

  Materials produced are deemed Confidential Information, and that the Materials produced

  should be treated and labeled or otherwise identified as such in accordance with that

  designation under this Order. The receiving party must treat the Materials as Confidential



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  Information, once the designating party so notifies the receiving party, subject to

  Paragraph 16 above.

         20.    If a party inadvertently or unintentionally produces Materials subject to a

  claim of privilege or work-product protection, the Materials for which a claim of inadvertent

  or unintentional production is thereafter made shall be returned to the producing party

  within seven (7) calendar days of the producing party’s written request or otherwise

  destroyed, and the production will not operate as a waiver of the applicable privilege or

  work-product protection. Moreover, any notes or summaries referring or relating to any

  such inadvertently or unintentionally produced Materials shall be destroyed.

         21.    Nothing herein shall prevent the party returning such Materials under

  Paragraph 20 from moving the Court for an order compelling production of such Materials.

         22.    Nothing herein shall prejudice the right of any party to object to the

  production of any Materials in discovery on the grounds that the Materials are protected

  as privileged or as attorney work-product.

         23.    Nothing in this Order shall bar Counsel from rendering advice to their clients

  with respect to this litigation and, in the course thereof, relying upon any information

  designated as Confidential Information, provided that the contents of the Confidential

  Information shall not be disclosed except as permitted elsewhere in this Order.

         24.    This Order shall be without prejudice to the right of any party to oppose

  production of any Materials for lack of relevance or any other ground other than the mere

  presence of Confidential Information. The existence of this Order shall not be used by

  either party as a basis for discovery that is otherwise not required under the Federal Rules

  of Civil Procedure.



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         25.    Nothing herein shall be construed to prevent disclosure of Confidential

  Information if such disclosure is required by law or by order of a court. If, at any time, any

  person in the possession, custody, or control of any Confidential Information (other than

  the producing party) receives a subpoena or other compulsory process by any court,

  administrative agency, legislative body, or other person or entity commanding production

  of such Confidential Information, the person to whom the subpoena or other compulsory

  process is directed shall, except where prohibited by law, provide prompt written notice

  and a copy of the subpoena or other compulsory process to the producing party. The

  producing party then shall have the burden of defending against or objecting to such

  subpoena or compulsory process to the extent it seeks Confidential Information.

         26.    Within sixty (60) days of final termination of this action, including any and

  all appeals, all Confidential Information (including paper and electronically stored copies

  and summaries) in the possession, custody, or control of a person other than the

  producing party shall be either returned to the producing party or destroyed by that

  person. Within that same sixty-day period, each party shall attest to the producing party

  that it has returned or destroyed such Confidential Information. Notwithstanding the

  foregoing, Counsel for each party may retain all pleadings, briefs, transcripts,

  memoranda, motions, and other documents filed with the Court that refer to or incorporate

  Confidential Information, and will continue to be bound by this Order with respect to all

  such retained Confidential Information. Further, attorney work-product materials that

  contain Confidential Information need not be destroyed, but, if they are not destroyed, the

  person in possession of the attorney work-product will continue to be bound by this Order

  with respect to all such retained Confidential Information.



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          27.    The restrictions and obligations set forth herein shall not apply to any

   information that: (a) the parties agree should not be designated Confidential Information;

   (b) the parties agree, or the Court rules, is already public knowledge; (c) the parties agree,

   or the Court rules, has become public knowledge other than as a result of a violation of

   this Order; or (d) has come or shall come into the receiving party’s knowledge

   independent of its production by the designating party.

          28.    The restrictions and obligations herein shall not be deemed to prohibit

   discussions of any Confidential Information with a person if that person already has

   independent knowledge of such Confidential Information.

          29.    Transmission by email is acceptable for all notification purposes herein

   unless otherwise specified.

          30.    If any party receives a subpoena, order, or other directive that compels a

   disclosure that would be otherwise prohibited by this Order, the receiving party shall notify

   the designating party through counsel, by email, promptly after receiving the subpoena,

   order or directive. Such notification must include a copy of the subpoena, order or

   directive. The purpose of imposing these duties is to afford the designating party in this

   case an opportunity to try and protect any confidentiality interest it may have in the

   appropriate court or body from which the subpoena, order, or directive was issued.

          31.    The Court may modify the terms and conditions of this Order for good

   cause, or in the interest of justice, or on its own order at any time in these proceedings.

          32.    Third Parties: A third party that produces Materials in this litigation, whether

   pursuant to a subpoena or voluntarily, may agree in writing, provided to the parties, to be

   bound by this Order, and thereafter may designate Materials as “CONFIDENTIAL,” or



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   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the terms of this Order,

   in which event such designated Materials shall be subject to all of the provisions of this

   Order and afforded all of the protections set forth in this Order. In the event that a third

   party produces Materials in this litigation that it does not designate as Confidential

   Information but a party’s Counsel reasonably believes in good faith should be designated

   as Confidential Information, the party may give written notice to the other parties of the

   specific Materials that should be deemed Confidential Information, after which the

   specified Materials shall be treated and labeled (or otherwise identified) as such, subject

   to Paragraph 16 above.

          33.    When a producing party (including a producing third party) wishes to

   designate    information    as   “CONFIDENTIAL”             or    “HIGHLY   CONFIDENTIAL     –

   ATTORNEYS’ EYES ONLY,” then:

                 (a)    for Materials in documentary form (e.g., paper or electronic

          documents, but excluding transcripts of depositions or court proceedings), the

          producing    party   shall   affix   the        legend    “CONFIDENTIAL”   or   “HIGHLY

          CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that contains

          Confidential Information; and

                 (b)    or Materials produced in some form that does not allow each page

          to have a legend affixed to it, the producing party shall affix in a prominent place

          on the exterior of the container or containers in which the Materials are stored

          (which may include a hard drive or computer disk) the legend “CONFIDENTIAL”

          or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” If only a portion or

          portions of the Materials warrant such designation, the producing party, to the



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          extent practicable, shall identify the protected portion(s) and specify the level of

          protection being asserted.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 30th day of

   October 2019.




   Copies furnished to:
   All counsel of record




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  (FT LAUDERDALE DIVISION)
                         CASE NO. 0:19-cv-61430- MORENO/Seltzer

    ELIZABETH E. BELIN, et al.,
                  Plaintiffs,
    v.
    HEALTH INSURANCE INNOVATIONS, INC.,
    et al.,
                  Defendants.
                                                    /



                                           EXHIBIT A

   I _______________________, declare that:

   1.    I   am    employed       as   ____________________________________________

   by_____________________________ .

   2.    My address is           ________________________________________.

   3.    I have received a copy of the Agreed Protective Order entered in Case No. 0:19-

   cv-61430, and I have read the Agreed Protective Order.

   4.    I promise that I will use and maintain any and all “Confidential” or “Highly

   Confidential – Attorneys’ Eyes Only” information, as defined in the Order, provided or

   disclosed to me only in a manner authorized by the Order, and only to assist Counsel in

   the prosecution, defense, or settlement of this matter.

   5.    I promise that I will not disclose or discuss such “Confidential” or “Highly

   Confidential – Attorneys’ Eyes Only” information with anyone other than the persons

   permitted pursuant to the Agreed Protective Order. I acknowledge that any unauthorized


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   use of “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” information may

   cause substantial harm to one or more parties in this litigation.

   6.     I acknowledge that, by signing this document, I am subjecting myself to the

   jurisdiction of the United States District Court for the Southern District of Florida with

   respect to enforcement of the Agreed Protective Order and this agreement.

   7.     I am executing this document in my individual capacity unless I am executing this

   document on behalf of an entity that is a “qualified person” under Paragraphs 9(d) and/or

   10(c) of the Agreed Protective Order.

          I declare under penalty of perjury that the foregoing is true and correct.

   Executed this ____ day of _______________, _________.



   Signature: ___________________________________


   Print Name: _________________________________




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